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                    UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA




      HUMANA INC.,                          CV 19-6926 DSF (MRWx)
          Plaintiff,
                                            Order GRANTING Defendant’s
                       v.                   Motion to Transfer (Dkt. 89)

      MALLINCKRODT ARD LLC
      (f/k/a Mallinckrodt ARD Inc., f/k/a
      Questcor Pharmaceuticals, Inc.),
             Defendant.



           Defendant Mallinckrodt ARD LLC moves to transfer this case to
     the District of Delaware. Dkt. 89 (Mot.). Plaintiff Humana Inc.
     opposes. Dkt. 92 (Opp’n). The Court deems this matter appropriate for
     decision without oral argument. See Fed. R. Civ. P. 78; Local Rule 7-
     15. For the reasons stated below, the motion is GRANTED.

                               I. BACKGROUND

           Mallinckrodt produces H.P. Acthar Gel, a drug that has been
     available in the United States since it was approved by the FDA in
     1952. Dkt. 60 (SAC) ¶¶ 2, 44. Acthar is an adrenocorticotropic
     hormone used as an anti-inflammatory. Id. ¶¶ 5, 41. Humana operates
     or administers Medicare Part D plans on behalf of federal and state
     governments and provides coverage for prescription drugs, including
     Acthar, through other plans. Id. ¶ 39.

           On August 8, 2019, Humana brought this action against
     Mallinckrodt relating to “Mallinckrodt’s purposeful and illegal
     misconduct, much of which took place in and around the Central
     District of California[ and] caused an astronomical 97,500% increase in
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     the cost of Acthar gel.” Opp’n at 6; dkt. 1. On March 9, 2020, the Court
     granted Mallinckrodt’s motion to dismiss certain claims. Dkt. 57. On
     April 24, 2020, Humana filed its Second Amended Complaint (SAC).
     On August 14, 2020, the Court dismissed certain claims in the SAC.
     Dkt. 80.

            On October 12, 2020, Mallinckrodt filed for Chapter 11
     bankruptcy in the District of Delaware. Mot. at 3-4. On October 13,
     2020, the Court stayed this case and ordered Humana to provide
     periodic status reports. Dkt. 88. On January 27, 2021, Mallinckrodt
     filed this motion to transfer this case to Delaware. See Mot.

            There are nine related actions pending across seven other
     districts. In re Acthar Gel Antitrust Litig., No. MDL 2999, 2021 WL
     2371299, at *1 (J.P.M.L. June 7, 2021). Plaintiffs in five of the other
     actions moved under 28 U.S.C. § 1407 to centralize this litigation in the
     Northern District of Illinois or, alternatively, the District of New
     Jersey. Id. On June 7, 2021, the Judicial Panel on Multidistrict
     Litigation denied the request to centralize the litigation because,
     despite the legal and factual overlap among the actions, uncertainty
     about the timing and outcome of the bankruptcy proceedings made
     centralization premature. Id. at *2.

                             II. LEGAL STANDARD

           A court may transfer a proceeding “related to” a bankruptcy
     proceeding in another district “in the interest of justice or for the
     convenience of the parties.” 28 U.S.C. § 1412. Because section 1412 is
     “phrased in the disjunctive,” transfer may be appropriate even where
     one factor is not present or “weigh[s] somewhat against transfer.”
     Jackson v. Fenway Partners, LLC, No. C 13-00005 JSW, 2013 WL
     1411223, at *2 (N.D. Cal. Apr. 8, 2013); see also Creekridge Capital,
     LLC v. Louisiana Hosp. Ctr., LLC, 410 B.R. 623, 629 (D. Minn. 2009)
     (“transfer under § 1412 requires a sufficient showing that granting the
     transfer either will be in the interest of justice or for the convenience of
     the parties.”).




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           To determine if the transfer is in the interest of justice, the Court
     considers:

           [T]he economics of estate administration, the presumption in
           favor of the home court, judicial efficiency, the ability to receive a
           fair trial, the state’s interest in having local controversies decided
           within its borders by those familiar with its laws, the
           enforceability of the judgment, and plaintiff’s original choice of
           forum.

     Senorx, Inc. v. Coudert Bros., LLP, No. C-07-1075 SC, 2007 WL
     2470125, at *1 (N.D. Cal. Aug. 27, 2007) (citation omitted). The factors
     relating to the convenience of the parties include: “(1) location of the
     plaintiff and defendant; (2) ease of access to necessary proof; (3) the
     availability of subpoena power for unwilling witnesses; and (4)
     expenses related to obtaining witnesses.” Jackson, 2013 WL 1411223,
     at *4.

           The defendant has the burden of establishing that the transfer is
     warranted. Id. at *2 (citing TIG Ins. Co. v. Smolker, 264 B.R. 661, 668
     (Bankr. C.D. Cal. 2001)). A request for transfer of venue under section
     1412 “requires a case-by-case analysis that is subject to the broad
     discretion of the court.” TIG Ins. Co., 264 B.R. at 667-68.

                                III. DISCUSSION

     A.    This Action is Related to Mallinckrodt’s Chapter 11 cases

           Mallinckrodt claims this action should be transferred to
     Delaware because it arises under the bankruptcy code and relates to
     Mallinckrodt’s Chapter 11 cases. Mot. at 5. Section 1412 applies to
     claims asserted directly against an estate, but a majority of courts have
     found it also applies to claims that are “related” to the bankruptcy
     estate. Tapia v. Davol, Inc., 562 B.R. 765, 768 (S.D. Cal. 2016);
     Jackson, 2013 WL 1411223, at *2; Reid-Ashman Mfg., Inc. v. Swanson
     Semiconductor Serv., L.L.C., No. C-06-4693-JCS, 2008 WL 425638, at
     *1 (N.D. Cal. Feb. 14, 2008).




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           The Court agrees this case is related to Mallinckrodt’s Chapter
     11 cases. To determine whether “related to” jurisdiction exists, courts
     examine whether “the outcome of the [civil] proceeding could
     conceivably have any effect on the estate being administered in
     bankruptcy.” In re Feitz, 852 F.2d 455, 457 (9th Cir. 1988) (relying on
     Pacor, Inc. v. Higgins, 743 F.2d 984, 994 (3d Cir. 1984)). If Humana
     were to prevail in this lawsuit, the damages would be drawn from the
     bankruptcy estate, which would have an effect on the estate. The cases
     are therefore related. 1

     B.    Transfer is in the Interest of Justice

           Mallinckrodt argues transfer is both in the interest of justice and
     convenient for the parties. Id. at 7. The Court agrees transfer is in the
     interest of justice.

            First, “the economics of estate administration favor transfer
     because the action against [Mallinckrodt] is related to the bankruptcy
     proceedings in the District of Delaware.” Baca v. Patriot Nat’l, Inc., No.
     17-CV-03508-SK, 2018 WL 10435228, at *3 (N.D. Cal. June 19, 2018).
     The Court agrees with Mallinckrodt that centralizing all the actions
     against it will “‘best promote the economic and efficient administration’
     of the estate.” Mot. at 8 (quoting Harris v. Vianda, LLC, No. 8:10-cv-
     01481-CJC-CW, 2011 WL 13227850, at *3 (C.D. Cal. Jan. 21, 2011)).

           The Court has no control over whether the other cases are
     transferred to Delaware. But it would promote economy and efficiency
     for the Bankruptcy Court to determine as many of these factually

     1 Courts are split on the issue of whether a proceeding that is “related to” a
     bankruptcy action, like this one, may be transferred under section 1412, or
     whether it must be transferred under 28 U.S.C. § 1404. Mendoza v. Gen.
     Motors, LLC, No. CV 10-2683-AHM (VBKx), 2010 WL 5224136, at *4 (C.D.
     Cal. Dec. 15, 2010) (“It appears that the Ninth Circuit Court of Appeals has
     not ruled on the issue, and district courts in the Ninth Circuit have
     transferred ‘related to’ proceedings under both statutes.”). But “[g]iven the
     substantial overlap of analysis under the two statutes, the question is largely
     academic.” Id. at *4 n.5.



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     similar and related claims as possible. The promotion of economical
     and efficient administration of the bankruptcy estate is the most
     important factor under section 1412. Doe v. Weinstein Co. LLC, No.
     CV183725MWFMRWX, 2018 WL 5880191, at *3 (C.D. Cal. June 14,
     2018) (citing Harris, 2011 WL 13227850 at *3).

           Second, there is a presumption in favor of the “home court,”
     which is the district in which the bankruptcy proceeding is taking
     place. Senorx, Inc., 2007 WL 2470125, at *1 (citing In re Bruno’s, Inc.,
     227 B.R. 311, 326 (Bankr. N.D. Ala. 1998)). “Although the seventh
     factor for consideration is the plaintiff’s choice of forum, that factor is
     less important than the presumption in favor of the home court.” Baca,
     2018 WL 10435228, at *3. Here, the home court is the District of
     Delaware.

            Humana argues the home court presumption does not justify
     transfer because “Mallinckrodt filed its chapter 11 bankruptcy petition
     in the District of Delaware not because of any substantial connection to
     that judicial district, but because one or more of its corporate affiliates
     happened to have its domicile or principal place of business in that
     district.” Opp’n at 8. But Humana cites no law to support that theory.
     Although Humana chose to sue in this district, the home court analysis
     favors the District of Delaware.

            Third, judicial efficiency favors transfer to the District of
     Delaware. Even if the pending cases against Mallinckrodt “involve a
     wide variety of plaintiffs, claims, legal theories, and procedural
     complexities,” Opp’n at 9, there are many common core issues of fact
     and law and they should be decided in one forum. This Court has had
     this case before it for almost two years but has decided only two
     motions to dismiss. It has not become so familiar with the issues in the
     case, much less any evidence, that it is not in the interest of judicial
     efficiency to transfer the case.

           Fourth, Humana does not explain why it will not have the ability
     to receive a fair trial in the District of Delaware. Baca, 2018 WL
     10435228, at *4. Humana’s witnesses may “likely” be located in



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     California, Opp’n at 11, but it does not argue it cannot present the
     same evidence and witnesses in the District of Delaware, only that it
     would potentially be more difficult.

           Fifth, “[a]lthough California has an interest in having its laws
     enforced in courts located in California, . . . there is no reason to doubt
     that the [District of Delaware] can fairly adjudicate this action.”
     Harris, 2011 WL 13227850, at *3.

            Sixth, Humana will be able to enforce any judgment in Delaware.
     Humana claims it will be “more difficult” for it to enforce a judgment
     issued in Delaware because Mallinckrodt’s headquarters are in
     California, Opp’n at 10, but does not explain why it would be any more
     difficult than enforcing a judgment issued by a court in the Central
     District of California.

           The factors favor transfer to Delaware, and Mallinckrodt has met
     its burden of showing the interest of justice favors transfer of the case.
     The Court accordingly does not reach the analysis of whether transfer
     is convenient for the parties. See Jackson, 2013 WL 1411223, at *2.

                                IV. CONCLUSION

           Mallinckrodt’s motion to transfer is GRANTED. The Clerk of
     Court is directed to transfer this case to the District of Delaware where
     Mallinckrodt’s Chapter 11 cases are pending.

        IT IS SO ORDERED.



      Date: June 28, 2021                     ___________________________
                                              Dale S. Fischer
                                              United States District Judge




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